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                                               United States Bankruptcy Court

                                                             District of Delaware




                                             Proterra Inc. Case No. 23-11120


                                                                                                     Court ID (Court use only)_____________

                   NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives notice pursuant to Rule
3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.


Name of Transferee                                                                                 Name of Transferor

Argo Partners                                                                                      Odgers Berndtson LLC

Name and Address where notices and payments to transferee                                          Court Record Address of Transferor
should be sent

Argo Partners                                                                                      Odgers Berndtson LLC
12 West 37th Street, Ste 900                                                                       730 Third Avenue, 23rd Fl
New York, NY 10018                                                                                 New York , NY 10017
Phone: 212-643-5446



                                                                                                   Court Claim #998
                                                                                                   Amount $24,333.46




I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and belief.


By:/s/ Matthew Binstock                                                                            Date: 1/11/2024
Transferee/Transferee’s Agent
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

                                               ~~DEADLINE TO OBJECT TO TRANSFER~~
           The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for
           Security has been filed in the clerk’s office of this court as evidence of the transfer. Objections must be
           filed with the court within twenty (20) days of the mailing of this notice. If no objection is timely received
           by the court, the transferee will be substituted as the original claimant without further order of the court.


Date:___________                                                                        ______________________________
                                                                                        CLERK OF THE COURT
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                                            ASSIGNMENT OF CLAIM 998

Odgers Berndtson LLC, having a mailing address at 730 Third Avenue, 23rd Fl, New York , NY 10017 ("Assignor"), in
consideration of the sum of           of the Claim (the "Purchase Rate"), or               (the "Purchase Price"), does hereby transfer to
Argo Partners, which includes Argo Partners II LLC and Argo Partners Fund III LLC, having an address at 12 West 37th Street, 9th
Fl. New York, NY 10018 ("Assignee") all of Assignor's right, title and interest in and to claim or claims of Assignor (the "Claim"), as
more specifically set forth against Proterra Inc. Case No. 23-11120, in proceedings for reorganization (the "Proceedings") in the
United States Bankruptcy Court for the District of Delaware (the "Court"), in the currently outstanding amount of not less than
$24,333.46 and all rights and benefits of Assignor relating to the Claim, including without limitation the Proof of Claim identified
below and Assignor's rights to receive all interest, penalties and fees, if any, which may be paid with respect to the Claim and all other
claims, causes of action against the Debtor, its affiliates, any guarantor or other third party and all cash, securities, instruments and
other property which may be paid or issued by Debtor in satisfaction of the Claim, together with voting and other rights and benefits
arising from, under or relating to any of the foregoing. The Claim is based on amounts owed to Assignor by Debtor as set forth below
and this assignment shall be deemed an absolute and unconditional assignment of the Claim for the purpose of collection and shall not
be deemed to create a security interest. For the avoidance of doubt, the Claim shall include, without limitation, any and all cure
claims, reclamation claims and administrative priority claims that may arise out of the same underlying contracts or facts and
circumstances that give rise to the Claim.

A proof of Claim has been filed by Assignor in the amount of $24,333.46. The term “Proof of Claim” shall mean any and all proofs
of claim that may be filed with the Court or it’s representative in respect of the Claim or any part thereof, whether formal or informal
and whether previously or hereafter filed which has not been revoked or superseded. For the avoidance of doubt, if the Proof of Claim
amount differs from the Claim amount set forth above, Assignee shall nevertheless be deemed the owner of the entire Proof of Claim
subject to the terms of this Agreement and shall be entitled to identify itself as owner of such Proof of Claim on the records of the
Court.

Assignor further represents and warrants that: the amount of the Claim is not less than $24,333.46; the Claim in that amount is valid
and enforceable; no objection to the Claim exists; the Claim is listed by the Debtor on its schedule of liabilities as amended to date
(“Schedule”) as such; no consent, approval, filing or corporate, partnership or other action is required as a condition to, or otherwise in
connection with, the execution, delivery and performance of this Agreement by Assignor, this Agreement has been duly authorized,
executed and delivered by Assignor and Assignor has the requisite power and authority to execute, deliver and perform this
Agreement; this Agreement constitutes the valid, legal and binding agreement of Assignor, enforceable against Assignor in
accordance with its terms; no payment or other distribution has been received by Assignor, or by any third party on behalf of
Assignor, in full or partial satisfaction of, or in connection with the Claim; Assignor has not engaged in any acts, conduct or omissions
that might result in Assignee receiving in respect of the Claim proportionately less payments or distributions or less favorable
treatment per dollar of claim than other unsecured creditors; the Claim is not subject to any factoring agreement; Assignor has not
previously assigned, sold or pledged the Claim to any third party, in whole or in part; Assignor owns and has title to the Claim free of
any and all liens, security interests or encumbrances of any kind or nature whatsoever; and it is not subject to any offset, defenses or
subordination that have been or may be asserted by or on behalf of Debtor or any other party to reduce the amount of the Claim or to
impair its value. Assignor agrees to indemnify Assignee from all losses, damages and liabilities, including attorneys fees and
expenses, which result from Assignor's breach of any representation, warranty or covenant set forth herein, or from any action,
proceedings, objection or investigation relating to any attempt or threatened attempt to avoid, disallow, reduce, subordinate or
otherwise impair the Claim or otherwise delay payments or distributions in respect of the Claim. Neither party hereto assumes or shall
be responsible for any obligations or liabilities of the other party related to or in connection with this Assignment of Claim.

Assignor is aware that the above Purchase Price may differ from the amount ultimately distributed in the Proceedings with respect to
the Claim and that such amount may not be absolutely determined until entry of a final order confirming a plan of reorganization.
Assignor acknowledges that, except as set forth in this Assignment, neither Assignee nor any agent or representative of Assignee has
made any representation whatsoever to Assignor regarding the status of the Proceedings, the condition of Debtor (financial or
otherwise) or any other matter relating to the Proceedings, the Debtor or the Claim. Assignor represents that it has adequate
information concerning the business and financial condition of Debtor and the status of the Proceedings to make an informed decision
regarding the sale of the Claim and that it has independently and without reliance on Assignee, and based on such information as
Assignor has deemed appropriate (including information available from the files of the Court in the Proceedings), made its own
analysis and decision to enter into this Assignment of Claim.

Assignee assumes all of the recovery risk in terms of the amount paid on the Claim. Assignee does not, however, assume the risk that
all or any part of the Claim may become, becomes, or is disallowed, avoided, reduced, disputed, objected to or otherwise impaired in

any way (any of the occurrences or conditions described is referenced herein singularly and/or collectively as an "Impairment"). In the
event of Impairment, Assignor agrees to immediately refund an amount equal to the portion of the Claim Amount subject to the
Impairment multiplied by the Purchase Rate.

In the event the Claim is ultimately allowed in an amount in excess of the amount purchased herein, Assignor is hereby deemed to sell
to Assignee, and Assignee hereby agrees to purchase, the balance of said Claim at the same percentage of claim paid herein not to
exceed twice the Claim amount specified above. Assignee shall remit such payment to Assignor upon Assignee's satisfaction in its
sole discretion that the Claim has been allowed in the higher amount and that neither the Claim nor distributions thereon is subject to
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                                                                    January
                                                             11th
